Appeal dismissed and Memorandum Opinion filed August 8, 2024.




                                      In The

                      Fourteenth Court of Appeals
                                    ____________

                               NO. 14-24-00407-CR
                                    ____________

                      DASHUN DEVON RHODES, Appellant
                                         V.

                        THE STATE OF TEXAS, Appellee

                      On Appeal from the 209th District Court
                              Harris County, Texas
                         Trial Court Cause Nos. 1763773

                           MEMORANDUM OPINION

      Appellant entered a plea of guilty to a charge of aggravated robbery with a
deadly weapon. The record reflects that in exchange for appellant’s guilty plea, the
State agreed to dismiss two other criminal charges against appellant. The trial court
assessed punishment and sentenced appellant to imprisonment for 15 years. We
dismiss the appeal.

      Consistent with the agreement between the parties, the trial court certified
that this was a plea-bargain case and that appellant had no right of appeal. See Tex.
R. App. P. 25.2(a)(2). An agreement under which the State dismisses a criminal
proceeding in exchange for a guilty plea is a plea bargain for purposes of Texas
Rule of Appellate Procedure 25.2(a)(2). Kennedy v. State, 297 S.W.3d 338, 342
(Tex. Crim. App. 2009); Shankle v. State, 119 S.W.3d 808, 813–14 (Tex. Crim.
App. 2003).

      Because appellant’s plea was made pursuant to a plea bargain, he may
appeal only matters raised by a written pretrial motion or with the trial court’s
permission. See Tex. R. App. P. 25.2(a)(2). Appellant is not appealing any pretrial
rulings. The record does not contain any adverse pre-trial rulings.

      We dismiss the appeal for want of jurisdiction.

                                  PER CURIAM

Panel consists of Justices Spain, Poissant, and Wilson.
Do Not Publish — Tex. R. App. P. 47.2(b).




                                          2
